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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

LAS VEGAS POLICE PROTECTIVE
ASSOCIATION METRO INC., ef a/.,

Case No. 2:15-cv-01928-LDG (CWH)
Plaintiffs,

ORDER
V.

LAS VEGAS METROPOLITAN
POLICE DEPARTMENT,

Defendant.

 

 

In 2015, the Nevada Legislature adopted, and the Governor approved, SB 241.
Pursuant to SB 241, Chapter 288 of the Nevada Revised Statutes was amended to add the

following new section:

A local government employer may agree to provide leave to any of its
employees for time spent by the employee in performing duties or providing
services for an employee organization if the full cost of such leave is paid or
reimbursed by the employee organization or is offset by the value of
concessions made by the employee organization in the negotiation of an
agreement with the local government employer pursuant to this chapter.

NRS 288.225.
The plaintiffs, the Las Vegas Police Protective Association Metro Inc. and the Las

Vegas Metro Police Managers & Supervisors Association (the Associations), are employee

 
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organizations representing various employees of the defendant, the Las Vegas
Metropolitan Police Department (Metro). They allege that SB 241 is unconstitutional, both
on its face and as applied to the Associations, as viewpoint discrimination and because it
violates their rights and the rights of their members to associate under the First and
Fourteenth Amendments of the United States Constitution. They further allege SB 241
violates their rights to equal protection under the Fourteenth Amendment.

The Court previously denied (ECF No. 30) the Associations’ motion for summary
judgment on their claims (ECF No. 24). Metro now moves for summary judgment (ECF No.
40), which motion the Associations oppose (ECF Nos. 41, 42). Having reviewed the
pleadings and the arguments of the parties, and for the reasons previously stated in
denying the Associations’ motion, the Court will grant summary judgment in favor of Metro.

Accordingly, for good cause shown,

THE COURT ORDERS that the Motion for Summary Judgment (ECF No. 40) of
defendant Las Vegas Metropolitan Police Department is GRANTED.

lad

Lloyd D. Gé ‘orge
United States District Judge

DATED this / day of March, 2019.

 

 
